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             IN THE UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF ARKANSAS
                        DELTA DIVISION

JARELL D. TERRY                                              PLAINTIFF
ADC #149998C

v.                       No. 2:20-cv-79-DPM

GREGORY RECHCIGL, Director
of Health Services, ADC, et al.                         DEFENDANTS

                             JUDGMENT
     Terry’s second amended complaint is dismissed without
prejudice.
                                       _________________________
                                       D.P. Marshall Jr.
                                       United States District Judge

                                       30 June 2020
